     Case 1:14-cr-00227-TCB-RGV Document 172 Filed 06/06/18 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:14-CR-227-TCB-RGV
   D AVID L EE


Government’s Motion for Leave to Dismiss the Indictment as to David Lee


   The United States of America, by Byung J. Pak, United States Attorney, and
Christopher C. Bly, Assistant United States Attorney for the Northern District of
Georgia, hereby seeks leave of the Court, under Fed. R. Crim. P. 48(a), to dismiss
the Indictment, which was filed on June 17, 2014 and which charges violations of
18 U.S.C. § 371, as well as 17 U.S.C. § 506(a)(1)(A) and 18 U.S.C. § 2319(b)(1) and
2, only as to David Lee.
    Case 1:14-cr-00227-TCB-RGV Document 172 Filed 06/06/18 Page 2 of 3




   WHEREFORE, the Government respectfully requests that the Court GRANT
this motion and DISMISS the Indictment as to David Lee.

                                      Respectfully submitted,

                                      B YUNG J. P AK
                                          United States Attorney


                                   /s/C HRISTOPHER C. B LY
                                         Assistant United States Attorney
                                      Georgia Bar No. 064634
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     Case 1:14-cr-00227-TCB-RGV Document 172 Filed 06/06/18 Page 3 of 3




                              Certificate of Service

I served this document today by filing it using the Court’s CM / ECF system,

which automatically notifies the parties and counsel of record.


                          Carl Lietz


June 6, 2018


                                         /s/ C HRISTOPHER C. B LY

                                         Assistant United States Attorney
